           Case 1:07-cr-00058-LJO Document 139 Filed 04/23/09 Page 1 of 2




                                   UNITED STATES DISTRICT COURT

                                   EASTERN DISTRICT OF CALIFORNIA

                                                    *****

                                            )
       UNITED STATES OF AMERICA,            ) CASE NO. CR-F-07-0058 AWI
                                            )
            Plaintiff,                      ) STIPULATION RE: SENTENCING
                                            ) CONTINUANCE AND ORDER
       vs.                                  )
                                            )
       MIGUEL ANGEL NUNEZ-BARRAGAN, et al., )
                                            )
                                            )
            Defendant.                      )
_________________________________________________


         Defendant MIGUEL ANGEL NUNEZ-BARRAGAN, by and through his attorney,

JOAN JACOBS LEVIE, and the United States of America, by and through its attorneys,

LAWRENCE G. BROWN, Acting United States Attorney, and KAREN A. ESCOBAR,

Assistant United States Attorney, hereby enter into the following stipulation:

                              1.    The parties to the above-captioned matter agree to vacate the

                                    April 27, 2009, sentencing in this matter.



                     2.    The parties agree to re-set the matter for sentencing on June 29, 2009,

                           at 9:00 a.m.

                                                    Respectfully submitted,


DATED: April 22, 2009                               /S/ Joan Jacobs Levie____________
                                                    JOAN JACOBS LEVIE
                                                    Attorney for Defendant,
                                                    MIGUEL ANGEL NUNEZ-BARRAGAN
         Case 1:07-cr-00058-LJO Document 139 Filed 04/23/09 Page 2 of 2


DATED: April 22, 2009                /S/ Karen A. Escobar______________
                                     KAREN A. ESCOBAR
                                     Assistant U.S. Attorney


                                    ORDER

IT IS SO ORDERED.

Dated:    April 22, 2009                  /s/ Anthony W. Ishii
0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
